                     Case 1:21-cr-00397-TFH Document 1 Filed 06/03/21 Page 1 of 1
AO 91 (Rev. 08/09) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District ofColumbia

                 United States ofAmerica                           )
                            v.                                     )
                   CHRISTIAN KULAS                                 )     Case No.
                                                                   )
                          xx-xx-xxxx                               )
                                                                   )
                           Defendant(s)

                                                      CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best ofmy knowledge and belief.
On or about the date(s) of                    January 6, 2021            in the county of __________ in the
                                              mbi=a___ , the defendant(s) violated:
                       District of ___C=-o=l=u==-
           Code Section                                                      Offense Description
 18 U.S.C. § 1752(a)(1) and (2)                  Unlawful Entry on Restricted Building and
                                                 Grounds
 40 U.S.C. § 5104(e)(2)(D) and (G)               Disorderly Conduct on U.S. Capitol Grounds




          This criminal complaint is based on these facts:
 SEE ATTACHED AFFIDAVIT




          'if Continued on the attached sheet.



                                                                                      Jacob Schaefer, Special Agent
                                                                                            Printed name and title
Attested to by the applicant in accordance with the requirements ofFed. R. Crim. P. 4.1 by
Telephone                                       (specify reliable electronic means).
                                                                                                       Digitally signed by
                                                                                                       G. Michael Harvey
 Date:             06/03/2021
                                                                                              Judge's signature

 City and state:                          Washington, DC                       G. Michael Harvey, United States Magistrate
                                                                                            Printed name and title
